                        CASE 0:21-cr-00261-PAM-ECW Doc. 3 Filed 10/01/21 Page 1 of 1
                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
     UNITED STATES OF AMERICA,
                               Plaintiff,
     v.                                         Criminal No. 21-mj-718 DTS
     JERMAINE MORRIS,
                            Defendant,

                                           APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
      (X)Ad Prosequendum           ( )Ad Testificandum

Name of Detainee: JERMAINE MORRIS
Detained at (custodian): HENNEPIN COUNTY JAIL

The government is requesting the investigating agency to transport detainee.

Detainee is:            a.)         (X) charged in this district by: Complaint
                                         Charging Detainee With: Felon in Possession of a Firearm
            or          b.)         ( ) a witness not otherwise available by ordinary process of the Court

Detainee will: a.)                  ( ) return to the custody of detaining facility upon termination of this proceeding
       or      b.)                  (X) be retained in federal custody until final disposition of federal charges.

Appearance is necessary on October 4, 2021 at 1:00 p.m. in the courtroom of David T. Schultz.

Dated: October 1, 2021                                                                          s/ Justin A. Wesley________
                                                                                                JUSTIN A. WESLEY, AUSA

                                                              WRIT OF HABEAS CORPUS

            (X)Ad Prosequendum                              ( )Ad Testificandum

The above application is granted and the above-named custodian, as well as the United States marshal for this
district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and any
further proceedings to be had in this case, and at the conclusion of said proceedings to return said detainee to
the above-named custodian.

 October 1, 2021
____________________________________                                                         s/ David T. Schultz
                                                                                             ______________________________________
Date                                                                                         UNITED STATES MAGISTRATE JUDGE
Please provide the following, if known:
     A.K.A.(s) (if applicable):                                                                        Gender:           Male
     Booking or Fed. Reg.#:                                                                            DOB:              xx/xx/1994
     Facility Address:                     401 South 4th Avenue                                        Race:
                                           Minneapolis, MN 55415                                       FBI #:
     Facility Phone:                       (612) 348-5112
     Currently Incarcerated For:
                                                                             RETURN OF SERVICE
Executed on ______________________________________ by __________________________________________ ________________________________________________________________________
                                                                                                                    (Signature)


                                                                                                                                   Writ issued 10/1/2021
